Case 1:24-cv-06201-LKE          Document 19         Filed 12/16/24      Page 1 of 17 PageID #: 45




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                                      X
JOHN GALE,

                                       Plaintiff,

                    -against-
                                                            Civ. No.: 1:24-cv-06201-LKE
WEST DEVELOPMENT C LLC and
HALCYON MANAGEMENT GROUP LLC,

                                   Defendants.

                                                      X


                DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT

               Defendants WEST DEVELOPMENT C LLC and HALCYON MANAGEMENT

GROUP LLC (hereinafter referred to as “Defendants”), by and through their attorneys, Jackson

Lewis P.C., hereby submit the following Answer to Plaintiff’s Complaint (the “Complaint”) in

connection with the above-captioned action.

                                AS TO “NATURE OF THE CASE”

               1.      Defendants deny the allegations set forth in Paragraph “1” of the Complaint,

except admits Plaintiff purports to bring this action pursuant to the statutes identified.

               2.      Defendants deny knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph “2” of the Complaint.

               3.      Defendants deny the allegations set forth in Paragraph “3” of the Complaint.

               4.      Defendants deny the allegations set forth in Paragraph “4” of the Complaint.

               5.      Defendants deny the allegations set forth in Paragraph “5” of the Complaint,

except admits Plaintiff purports to proceed as alleged therein.
 Case 1:24-cv-06201-LKE           Document 19        Filed 12/16/24       Page 2 of 17 PageID #: 46




               6.        Defendants deny the allegations set forth in Paragraph “6” of the Complaint,

except admits Plaintiff purports to proceed as alleged therein.

               7.        Defendants deny the allegations set forth in Paragraph “7” of the Complaint,

except admits Plaintiff purports to proceed as alleged therein.

               8.        Defendants deny the allegations set forth in Paragraph “8” of the Complaint,

except admits Plaintiff purports to proceed as alleged therein

                             AS TO “JURISDICTION AND VENUE”

               9.        Defendants deny knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph “9” of the Complaint.

               10.       Defendants deny the allegations set forth in Paragraph “10” of the

Complaint, except state that Plaintiff purports jurisdiction is proper.

               11.       Defendants deny the allegations set forth in Paragraph “11” of the

Complaint, except state that Plaintiff purports jurisdiction is proper.

               12.       Defendants deny the allegations set forth in Paragraph “12” of the

Complaint, except state that Plaintiff purports jurisdiction is proper.

               13.       Defendants deny the allegations set forth in Paragraph “13” of the

Complaint, except state that Plaintiff purports jurisdiction is proper.

                                      AS TO “THE PARTIES”

               14.       Defendants deny knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph “14” of the Complaint.

               15.       Defendants deny knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph “15” of the Complaint.




                                                    2
 Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 3 of 17 PageID #: 47




                16.       Defendants deny the allegations set forth in Paragraph “16” of the

Complaint.

                17.       Defendants deny knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph “17” of the Complaint, except admits that West

Development C LLC is a domestic limited liability company with its principal County of business

designated as Kings County, New York.

                18.       Defendants admit the allegations set forth in Paragraph “18” of the

Complaint.

                19.       Defendants admit the allegations set forth in Paragraph “19” of the

Complaint.

                20.       Defendants deny knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph “20” of the Complaint, except admits that Halcyon

Management Group is a domestic limited liability company with its principal County of business

designated as Kings County, New York.

                21.       Defendants admit the allegations set forth in Paragraph “21” of the

Complaint.

                22.       Defendants admit the allegations set forth in Paragraph “22” of the

Complaint.

                 AS TO “STATUTORY AND REGULATORY FRAMEWORK”

                23.       The allegations in Paragraph “23” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.


                                                     3
 Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 4 of 17 PageID #: 48




                24.       The allegations in Paragraph “24” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                25.       The allegations in Paragraph “25” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                26.       The allegations in Paragraph “26” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                27.       The allegations in Paragraph “27” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                28.       The allegations in Paragraph “28” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                29.       The allegations in Paragraph “29” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent




                                                     4
 Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 5 of 17 PageID #: 49




that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                                AS TO “FACTUAL BACKGROUND”

                30.       Defendants deny knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph “30” of the Complaint.

                31.       Defendants deny knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph “31” of the Complaint.

                32.       Defendants deny knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph “32” of the Complaint.

                33.       Defendants deny the allegations set forth in Paragraph “33” of the

Complaint.

                34.       Defendants deny the allegations set forth in Paragraph “34” of the

Complaint.

                35.       Defendants deny the allegations set forth in Paragraph “35” of the

Complaint.

                36.       Defendants deny the allegations set forth in Paragraph “36” of the

Complaint.

                37.       Defendants deny the allegations set forth in Paragraph “37” of the

Complaint.

                38.       Defendants deny the allegations set forth in Paragraph “38” of the

Complaint.

                39.       Defendants deny the allegations set forth in Paragraph “39” of the

Complaint.


                                                     5
 Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 6 of 17 PageID #: 50




                                       AS TO “LEGAL CLAIMS”
                                      FIRST CAUSE OF ACTION
                      (Violations of the Fair Housing Act, 42 USC § 3604 et seq.)

                40.       Defendants repeat and reallege their responses to Paragraphs “1” through

“39” of the Complaint inclusive, as if set forth fully herein in response to Paragraph “40” of

Plaintiff’s Complaint.

                41.       The allegations in Paragraph “41” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                42.       The allegations in Paragraph “42” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                43.       The allegations in Paragraph “43” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                44.       Defendants deny the allegations set forth in Paragraph “44” of the

Complaint.

                45.       The allegations in Paragraph “45” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.


                                                     6
 Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 7 of 17 PageID #: 51




                46.       The allegations in Paragraph “46” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                47.       Defendants deny the allegations set forth in Paragraph “47” of the

Complaint.

                48.       Defendants deny the allegations set forth in Paragraph “48” of the

Complaint.

                49.       The allegations in Paragraph “49” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                50.       Defendants deny the allegations set forth in Paragraph “50” of the

Complaint.

                51.       Defendants deny the allegations set forth in Paragraph “51” of the

Complaint.

                52.       The allegations in Paragraph “52” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                53.       Defendants deny the allegations set forth in Paragraph “53” of the

Complaint.




                                                     7
 Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 8 of 17 PageID #: 52




                54.       The allegations in Paragraph “54” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                55.       Defendants deny the allegations set forth in Paragraph “55” of the

Complaint.

                56.       The allegations in Paragraph “56” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                                   SECOND CAUSE OF ACTION
                         (Violations of New York State Human Rights Law)

                57.       Defendants repeat and reallege their responses to Paragraphs “1” through

“56” of the Complaint inclusive, as if set forth fully herein in response to Paragraph “57” of

Plaintiff’s Complaint.

                58.       The allegations in Paragraph “58” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                59.       The allegations in Paragraph “59” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.



                                                     8
 Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 9 of 17 PageID #: 53




                60.       The allegations in Paragraph “60” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                61.       The allegations in Paragraph “61” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                62.       The allegations in Paragraph “62” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                63.       The allegations in Paragraph “63” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                64.       The allegations in Paragraph “64” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                65.       The allegations in Paragraph “65” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent




                                                     9
Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 10 of 17 PageID #: 54




that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                66.       The allegations in Paragraph “66” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                67.       The allegations in Paragraph “67” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                68.       The allegations in Paragraph “68” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                                   THIRD CAUSE OF ACTION
                         (Violations of New York City Human Rights Law)

                69.       Defendants repeat and reallege their responses to Paragraphs “1” through

“68” of the Complaint inclusive, as if set forth fully herein in response to Paragraph “69” of

Plaintiff’s Complaint.

                70.       The allegations in Paragraph “70” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.



                                                     10
Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 11 of 17 PageID #: 55




                71.       The allegations in Paragraph “71” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                72.       The allegations in Paragraph “72” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                73.       The allegations in Paragraph “73” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                74.       The allegations in Paragraph “74” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                75.       The allegations in Paragraph “75” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                76.       The allegations in Paragraph “76” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent




                                                     11
Case 1:24-cv-06201-LKE            Document 19         Filed 12/16/24   Page 12 of 17 PageID #: 56




that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                77.       The allegations in Paragraph “77” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                78.       The allegations in Paragraph “78” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                79.       The allegations in Paragraph “79” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                80.       Defendants deny the allegations set forth in Paragraph “80” of the

Complaint.

                81.       Defendants deny the allegations set forth in Paragraph “81” of the

Complaint.

                82.       The allegations in Paragraph “82” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.




                                                     12
Case 1:24-cv-06201-LKE             Document 19        Filed 12/16/24      Page 13 of 17 PageID #: 57




                83.       The allegations in Paragraph “83” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                84.       The allegations in Paragraph “84” of the Complaint constitute conclusions

of law to which no response is required under the Federal Rules of Civil Procedure. To the extent

that a response is necessary, Defendants deny the allegations and respectfully refer the Court to the

statute cited therein for its full and accurate content.

                                   AS TO “PRAYER FOR RELIEF”

                85.       To the extent not otherwise denied, Defendants deny all relief requested in

the “WHEREFORE” Paragraph following Paragraph 84 of the Complaint, including subparagraphs

(A) through (K) alleged therein.

                  STATEMENT OF AFFIRMATIVE AND OTHER DEFENSES

                  Defendants state the following affirmative defenses without assuming the burden

  of proof on such defenses that would otherwise rest with Plaintiff. Defendants also reserve the

  right to assert such additional defenses that may become applicable during the course of this

  litigation.

                                  FIRST AFFIRMATIVE DEFENSE

                  The Complaint as a whole and each and every purported cause of action alleged

  therein fails to state facts sufficient to constitute a claim against Defendants.




                                                     13
Case 1:24-cv-06201-LKE          Document 19        Filed 12/16/24      Page 14 of 17 PageID #: 58




                             SECOND AFFIRMATIVE DEFENSE

               The Complaint is barred in whole or in part to the extent Defendants relied on the

directions and directives of the City of New York and/or County of New York permitting

authorities regarding the accessibility of the subject premises.

                              THIRD AFFIRMATIVE DEFENSE

               The Complaint is barred in whole or in part to the extent the facilities provide

equivalent or greater accessibility to Plaintiff and persons with disabilities.

                             FOURTH AFFIRMATIVE DEFENSE

               Defendants are not obligated to make any alterations sought by Plaintiff that would

result in a fundamental alteration in the nature of Defendants’ services, programs, or activities or

in undue financial and administrative burdens, or would require structural changes in existing

facilities where other methods are effective to achieve compliance under the Fair Housing Act

and/or applicable state and local housing and/or accommodation laws.

                               FIFTH AFFIRMATIVE DEFENSE

               The removal of any barriers by Defendants is excused to the extent such barrier

removal is structurally infeasible and/or not readily achievable.

                               SIXTH AFFIRMATIVE DEFENSE

               Any work required for accessibility is excused to the extent such work would be

disproportionate in cost and scope to any alterations Defendants have undertaken.

                            SEVENTH AFFIRMATIVE DEFENSE

               Plaintiff claims are barred by the applicable statute of limitations.




                                                  14
Case 1:24-cv-06201-LKE         Document 19        Filed 12/16/24      Page 15 of 17 PageID #: 59




                             EIGHTH AFFIRMATIVE DEFENSE

               Any changes Plaintiff advocates are barred to the extent they are practically

difficult, pose an unnecessary hardship and/or extreme so that such changes are not required and/or

are subject to exception.

                              NINTH AFFIRMATIVE DEFENSE

               Plaintiff’s claims are barred to the extent he lacks standing to pursue such claims.

                             TENTH AFFIRMATIVE DEFENSE

               At all times relevant to this action, Defendants acted honestly and in good faith to

ensure full compliance with the Fair Housing Act and all other applicable state and local public

housing and/or accommodation laws, to the extent readily achievable and/or required by law.

                            ELEVENTH AFFIRMATIVE DEFENSE

               Plaintiff’s claims are barred, in whole or in part, by equitable principles, including

but not limited to, waiver, estoppel, laches, consent, duress, the after-acquired evidence doctrine,

and/or the unclean hands doctrine.



               WHEREFORE, Defendants respectfully request the Court to:

                       1.     Dismiss Plaintiff’s Complaint in its entirety, with prejudice;

                       2.     Deny each and every demand, claim, and prayer for relief contained

                              in Plaintiff’s Complaint;

                       3.     Award Defendants the reasonable attorneys’ fees and costs

                              Defendants incur in defending this action; and




                                                15
Case 1:24-cv-06201-LKE     Document 19        Filed 12/16/24     Page 16 of 17 PageID #: 60




                    4.     Grant Defendants such other and further relief as the Court deems

                           just and proper.

                                                   Respectfully submitted,

                                                   JACKSON LEWIS P.C.
                                                   44 South Broadway, 14th Floor
                                                   White Plains, New York 10601
                                                   (914) 872-8060


                                          By:      /s/ Joseph J. DiPalma
                                                   Joseph J. DiPalma, Esq.
                                                   Joseph.Dipalma@jacksonlewis.com
                                                   Attorneys for Defendant

Dated: December 16, 2024
       White Plains, New York




                                              16
Case 1:24-cv-06201-LKE             Document 19       Filed 12/16/24      Page 17 of 17 PageID #: 61




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                                       X
JOHN GALE,

                                        Plaintiff,

                       -against-
                                                            Civ. No.: 1:24-cv-06201-LKE
WEST DEVELOPMENT C LLC and
HALCYON MANAGEMENT GROUP LLC,

                                     Defendants.

                                                       X


                                    CERTIFICATE OF SERVICE

                  The undersigned hereby certifies that a true and correct copy of the foregoing

Answer to Plaintiff’s Complaint has been served on this 16th day of December 2024, via ECF and

U.S. Mail, on counsel for Plaintiff James E. Bahamonde at the address set forth below:

                                         James E. Bahamonde
                                           2501 Jody Court
                                    North Bellmore, NY 11710-1940
                                          Tel. (646) 290-8258
                                      James@CivilRightsNY.com

                                        Attorneys for Plaintiff




                                                                  /s/ Joseph J. DiPalma
                                                                  Joseph J. DiPalma


4903-0010-4963, v. 1
